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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                             :       CRIMINAL NO. 19-CR-125 (ABJ)
                                                     :
            v.                                       :
                                                     :
GREGORY B. CRAIG,                                    :
                                                     :
                                                     :
           Defendant.                                :


                 UNITED STATES’ MOTION IN LIMINE TO EXCLUDE
                 DEFENDANT’S PROFFERED OPINION TESTIMONY

       The United States of America respectfully moves in limine to exclude the improper opinion

testimony of Amy Jeffress, whom Defendant noticed as an expert witness. See ECF No. 40. The

issues to be decided in this case are straightforward: whether Defendant made false and misleading

statements and omissions to the U.S. Department of Justice in 2013. To confuse the issue,

Defendant seeks to admit improper “state of mind” evidence through an expert witness, which

could only result in distracting the jury from the actual record evidence of Defendant’s knowledge

of and state of mind for the offenses charged in the indictment. The Court should not allow it.

       First, the proposed expert testimony should be excluded because it is irrelevant to the

charges in the indictment and risks confusing and misleading the jury. Defendant is charged with

making false statements and willful omissions, not with failing to register under the Foreign Agents

Registration Act (FARA). Ms. Jeffress’ opinion that the facts of this case would not have led a

reasonable practitioner to register under FARA in 2012 have no bearing on whether Defendant

made false statements and omitted material facts in 2013 when the FARA Unit inquired about his

activities. Admitting Ms. Jeffress’ opinion on that matter risks confusing the jury about the issue

it will be charged to decide—whether Defendant made false statements and omissions—and
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misleading it into believing that it must decide whether he had a registration obligation; indeed,

Ms. Jeffress’ testimony risks turning the case into a mini-trial on FARA registration obligations.

        Moreover, Ms. Jeffress’ testimony is irrelevant because she cannot speak to Defendant’s

actual state of mind about whether he had a registration obligation. To the extent that Defendant’s

state of mind on that point is relevant to the jury’s decision on the charges here, Defendant cannot

substitute Ms. Jeffress’ opinion of what a “reasonable practitioner” might think for admissible

evidence of what he actually thought. Substantial evidence exists that Defendant was told in 2012

that he would have to register under FARA if he participated in a public relations campaign on

behalf of the Government of Ukraine. Admitting Ms. Jeffress’ testimony risks confusing the jury.

        The Court should also exclude the proffered testimony as irrelevant because Defendant is

attempting to have Ms. Jeffress vouch for his alleged mental state, under the guise of a legal

opinion. Only the jury can determine Defendant’s mental state for the charges—and testimony by

an expert as to this issue is inappropriate and inadmissible. If Defendant wants to present evidence

of his mental state, he can call and/or cross examine the fact witnesses at trial and/or elect to testify.

        Second, the Court should also exclude the testimony because Defendant’s notice failed to

comply with the requirements of Rule 16 of the Federal Rules of Criminal Procedure. Despite the

government’s request that Defendant supplement his disclosures, he failed to do so. Specifically,

Defendant failed to describe the bases and reasons for the proffered opinions and testimony, and

even failed to identify some of her other opinions by “reserving the right” to provide additional

opinions at trial. In short, Defendant provided only two of Ms. Jeffress’ opinions and none of the

bases and reasons for them. The notice also failed to establish Ms. Jeffress’ qualifications to opine

as to what a reasonable practitioner would have done during 2012-2013—a time during which Ms.

Jeffress was not a FARA practitioner and had no substantive FARA experience.



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   I.      FACTUAL BACKGROUND

        Before and during his representation of Ukraine in 2012, Defendant sought and received

advice regarding his FARA registration obligations, which is evidence of his knowledge and state

of mind. See, e.g., Indictment (ECF No. 1) ¶¶ 9, 14, 15, 20; see also email dated 2/13/2012

(Defendant states the he does not want to register under FARA for project; attached hereto as

Exhibit (Ex.) A); additional email dated 2/13/2012 (Defendant receives initial FARA analysis from

associate; attached as Ex. B); Email dated 4/16/2012 (Defendant repeats need for FARA advice as

to implications of providing public relations advice to Ukraine from “someone from whom we can

rely on with a straight face”; attached as Ex. C); Email dated 4/17/2012 (Defendant receives advice

from FARA practitioner, Kenneth Gross, and his partner, Cliff Sloan, that if he were to “perform

public relations aimed at the U.S.” he would have to register under FARA; attached as Ex. D.).

        On April 11, 2019, a federal grand jury in this district returned an indictment charging

Defendant with one count of a false statements scheme in violation of 18 U.S.C. § 1001(a)(1), and

one count of false and misleading statements under FARA in violation of 22 U.S.C. §§ 612, 618.

The indictment does not include a charge for willful failure to register under FARA.

        On April 17, 2019, the Court held a telephone scheduling conference with the parties, in

which the government asked the Court to set a deadline for notice of proposed expert witnesses.

Without ruling on the admissibility of any specific expert testimony, the Court cautioned the

parties that it is not appropriate to call an expert witness at trial on a question of law, because the

Court, with its jury instructions, would explain the law to the jurors. See 4/17/19 Tr. at 20-22.

        On April 19, 2019, the Court issued its Scheduling Order. ECF No. 11. Pursuant to this

Order, the parties had until June 10, 2019, to submit expert disclosures. Expert disclosures by the

defense are governed by Rule 16(b)(1)(C) of the Federal Rules of Criminal Procedure, which state



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that defendant must provide the government with “a written summary of any testimony that the

defendant intends to use under Rules 702, 703 or 705 of the Federal Rules of Evidence.” Fed. R.

Crim. P. 16(b)(1)(C). The rule specifies that the written summary “must describe the witness’s

opinions, the bases and reasons for those opinions, and the witness’s qualifications.” Id.

       On June 10, 2019, Defendant filed his expert witness disclosure, identifying attorney Amy

Jeffress as an expert at trial. ECF No. 40. According to the notice, Ms. Jeffress would opine that:

       [I]t would have been reasonable for a knowledgeable practitioner in the field in or
       around 2012 and 2013 to believe that a lawyer or law firm engaged by a foreign
       government to perform an independent analysis and to complete a report on the
       procedures utilized in a criminal prosecution in that foreign country was not
       required to register as an agent of the foreign principal under the provisions of the
       Foreign Agents Registration Act, 22 U.S.C. § 611 et seq., regardless of how the
       foreign entity intended to use the report or did in fact use it.

       [I]t would have been reasonable for a knowledgeable practitioner to believe that
       providing a copy of the report to a few media outlets and speaking about the
       conclusions contained in it, in order to ensure that those conclusions were
       accurately reported in the U.S. media, would not require registration as long as
       those contacts were not made under the direction and control of the foreign
       principal, even if the client had an interest in the report’s getting public attention.

ECF No. 40 at 1. Defendant’s notice did not describe the bases and reasons for these two opinions.

Instead, Defendant stated that Ms. Jeffress could also respond to the testimony of witnesses at trial,

offering “more detailed testimony” about these matters based on “hypothetical assumptions

presented to her” about either the testimony or documents in evidence. Id. at 2. The notice does

not describe the other opinions, or their bases and reasons. Defendant’s notice did not include a

curriculum vitae for Ms. Jeffress (but attached a printout from her firm’s website (ECF No. 40-

1)), and asserted that Ms. Jeffress is qualified to present her opinions based on her experience as a

federal prosecutor and her work as a FARA advisor at her firm.

       On June 11, 2019, the government asked defense counsel for supplemental disclosures for

Ms. Jeffress’ opinions by June 14, 2019, as well as additional information about Ms. Jeffress’

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qualifications to offer those opinions. See Letter re Deficiencies in Expert Disclosure (attached as

Ex. E). Defendant did not respond by June 14, 2019.

         On June 17, 2019, defense counsel sent an email, with minimal additional information, that

did not describe the bases and reasons for Ms. Jeffress’ opinions, and failed to establish Ms.

Jeffress’ qualifications to opine about what a reasonable practitioner would have done in 2012 or

2013. See Supplemental Expert Witness Disclosure for Amy Jeffress (attached as Ex. F).

   II.      LEGAL FRAMEWORK

         Rule 702 of the Federal Rules of Evidence governs the admissibility of expert testimony at

trial, and it provides that an appropriately qualified witness may testify in the form of an opinion

if “the expert’s scientific, technical, or other specialized knowledge will help the trier of fact to

understand the evidence or to determine a fact in issue.” Fed. R. Evid. 702. Rule 702 further

requires that the testimony be: (1) based on sufficient facts or data; (2) the product of reliable

principles and methods; and (3) that the proposed expert reliably applied the principles and

methods to the facts of the case. Id.; see also Daubert v. Merrell Dow Pharm. Inc., 509 U.S. 579,

589 (1993) (trial judge must ensure that expert testimony is not only relevant but also reliable);

Kumho Tire Co. v. Carmichael, 526 U.S. 137, 150 (1999) (holding that Daubert covers all expert

testimony, not just science-based testimony). The party proposing the expert testimony bears the

burden of showing that the testimony satisfies Rule 702, and therefore its admissibility. See

Meister v. Med. Eng'g Corp., 267 F.3d 1123, 1127, 347 U.S. App. D.C. 361 (D.C. Cir. 2001)

(proponent of expert testimony bears the burden of showing its admissibility).

         In determining the admissibility of expert testimony, the Court must initially decide

whether the proffered expert is qualified to offer an opinion on the pertinent issues of the case.

Ralston v. Smith & Nephew Richards Inc., 275 F.3d 965, 969 (10th Cir. 2001). A qualified expert



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must possess the necessary knowledge, skill, experience, training, or education relevant to the facts

at issue. Id. The Court, serving as the “gatekeeper,” must then conduct a two-pronged inquiry as

to the reliability and relevance of the proffered testimony. Bitler v. A .0. Smith Corp., 400 F.3d

1227, 1232 (10th Cir. 2004). When, as here, Defendant’s notice provides no bases or reasons for

the proffered opinions—i.e., only conclusions without explanations—courts will generally exclude

the testimony. Sacchetti v. Gallaudet Univ., 344 F. Supp. 3d 233, 250 (D.D.C. 2018) (precluding

testimony where the witness “has not identified or explained his methods or how they were applied

in this case”); Chesapeake Climate Action Network v. Exp.-Imp. Bank of the U.S., 78 F. Supp. 3d

208, 219 (D.D.C. 2015) (excluding testimony as unreliable, in part because the expert “ha[d] not

identified any [ ] principles or methodology”); Daubert v. Merrell Dow Pharm., Inc., 43 F.3d 1311,

1319 (9th Cir. 1995) (“We’ve been presented with only the expert’s qualifications, their

conclusions, and their assurances of reliability. Under Daubert, that’s not enough.”).

   III.      ARGUMENT

          Defendant cannot meet his burden to show that Ms. Jeffress’ proffered opinion testimony

is admissible under Rule 702 of the Federal Rules of Evidence and applicable case law. As

demonstrated below, the Court should exclude Ms. Jeffress’ proffered opinion testimony.

          A. Proffered Testimony Is Irrelevant—Not Helpful to the Jury

          The indictment did not charge Defendant with a failure to register under FARA for his

work on Ukraine’s behalf. See ECF No. 1. Instead, the indictment charged Defendant with his

scheme to make false and misleading statements and omissions to the FARA Unit, in response to

official inquiries about his work on Ukraine’s behalf. Id. at 15-22. Irrespective of whether

Defendant should have registered under FARA when he communicated with the New York Times

at Ukraine’s request, Defendant was not entitled to make false and misleading statements and

omissions as to the underlying facts. Ultimately, an “expert opinion” about what a “reasonable

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practitioner” would have believed in 2012 regarding FARA registration obligations is wholly

irrelevant to Defendant’s reasons for making false and misleading statements and omitting material

information when questioned about his activities by the FARA Unit. Even if Defendant had truly

believed that he did not have to register under FARA, it does not absolve him of his subsequent

decision to lie and omit material facts from the FARA Unit in order to avoid registration.

        As a result, Ms. Jeffress’ opinion testimony as to whether a reasonable practitioner would

have registered under FARA under similar circumstances to the facts of this case is not helpful to

the jury because it is irrelevant to the charges. When proffered expert testimony is irrelevant, it

should be excluded. See, e.g., Keys v. Wash. Metro. Area Transit Auth., 577 F. Supp. 2d 283, 285

(D.D.C. 2008) (testimony should be precluded if “expert testimony is irrelevant”).           Stated

differently, because Ms. Jeffress’ proffered opinion testimony will not aid the jury in resolving a

relevant factual dispute, it cannot satisfy Rule 702 and should be excluded. See United States v.

Bostick, 416 U.S. App. D.C. 304, 328 (2015) (affirming the lower court’s decision to exclude

testimony because it was not “relevant to the charged” offenses); see also Minebea Co. v. Papst,

2005 U.S. Dist. LEXIS 11946, *7 (It is the Court’s responsibility to make sure expert testimony

“is relevant to the issues to be tried before the jury in this case”).

        To the extent Defendant’s state of mind in 2012 regarding his obligation to register under

FARA is relevant to his motive to make false statements to the FARA Unit in 2013, Ms. Jeffress’

“expert opinion” is not the proper vehicle for proving it. Indeed, Defendant sought and received

advice from a FARA practitioner, Kenneth Gross, and others, which is admissible at trial. See,

e.g., Ex. A through D. If Defendant has other evidence that bears on his state of mind regarding

FARA compliance in 2012—for instance, emails containing other advice he sought and received

contemporaneous with his engagement by Ukraine—that too might constitute proper evidence



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supporting Defendant’s claims about his state of mind in 2012.1 Moreover, Defendant can testify

about his state of mind. But Ms. Jeffress cannot properly offer “expert testimony” about what

Defendant’s state of mind might have been. See United States v. Libby, 475 F.Supp.2d 75, 89

(D.D.C. 2007) (“[T]he Court was cognizant of the potential for prejudice that would have arisen

if the defendant had been permitted to portray his own state of mind [through the testimony of

others] without allowing the government any effective means of challenging it through cross-

examination.”).

       Related to these concerns, Defendant is attempting to misuse Ms. Jeffress’ opinions to

claim, or make the jury believe, that because a reasonable practitioner may have failed to register

under FARA in 2012, Defendant must therefore have acted in good faith when he dealt with the

FARA Unit during 2013. In essence, Defendant is attempting to have Ms. Jeffress improperly

vouch for his mental state when he made the false and misleading statements and omissions to the

FARA Unit in 2013 that are at issue in this case. Indeed, he is actually proposing that a professional

defense attorney be qualified as an expert so as to admit into evidence the defense’s arguments

about Defendant’s mental state. This is exactly the kind of testimony explicitly barred by Rule

704, which provides that an “expert witness must not state an opinion about whether the defendant

did or did not have a mental state or condition that constitutes an element of the crime charged or

of a defense. Those matters are for the trier of fact alone.” Fed. R. Evid. 704. Only the jury can

determine whether, as charged, Defendant intended to make false and misleading statements and

omissions to the FARA Unit during 2013. The Court should also exclude Ms. Jeffress’ testimony

pursuant to Rule 704(b).



1
        To date, however, Defendant has failed to produce any discovery to the government,
despite repeated requests. Therefore, the government assumes that Defendant does not have any
other evidence as to his state of mind at the time, except perhaps for his testimony at trial.
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       B. Proffered Testimony Will Confuse and/or Mislead the Jury--Unduly Prejudicial

       Not only is the proffered testimony irrelevant, but the testimony is also unduly prejudicial

in that it risks confusing and misleading the jury, and therefore does not survive a Federal Rule of

Evidence 403 balancing test even if the Court were to find the testimony marginally relevant.

Under Rule 403, a court may exclude otherwise relevant evidence “if its probative value is

substantially outweighed by a danger of one or more of the following: unfair prejudice, confusing

the issues, misleading the jury, undue delay, wasting time, or needlessly presenting cumulative

evidence.” Fed. R. Evid. 403. In Daubert, the Supreme Court made clear that courts assessing

expert testimony should also consider the evidence’s admissibility under Rule 403, and highlighted

the particular risk of prejudice from expert testimony, as follows: “Expert evidence can be both

powerful and quite misleading because of the difficulty in evaluating it.” 509 U.S. at 595 (internal

citations omitted); see also United States v. Doe, 903 F.2d 16, 19-20 (D.C. Cir. 1990) (inherent

danger of expert testimony unduly biasing jury because of its “aura of special reliability.”).

       The proffered testimony provides a very real opportunity to confuse and mislead the jury

because it improperly attempts to approximate Defendant’s mental state. “Expert” testimony about

Defendant’s alleged belief (as a “reasonable” practitioner) that he did not have to register under

FARA for his Ukraine work in 2012 could lead some jurors to assume or believe that Defendant’s

mental state—for the offenses actually committed in 2013—is somehow determined by the mental

state of a reasonable practitioner regarding FARA registration in 2012. For the reasons discussed

above, that impression or belief would not be correct, but the testimony threatens to confuse and

mislead the jurors as they evaluate the elements of the charged offenses, including Defendant’s

mental state.   Moreover, Defendant undoubtedly hopes that by having a respected former

prosecutor like Ms. Jeffress testify on his behalf—opining that he acted reasonably in 2012—he



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can influence jurors to discount or ignore the evidence of his false and misleading statements and

omissions to the FARA Unit. The Court should exclude the testimony.

       C. Defendant Failed to Provide Adequate Notice of Expert Testimony

       The Court, in its Scheduling Order, set a clear deadline of June 10, 2019, for the parties to

provide expert notice under Rule 16 of the Federal Rules of Criminal Procedure. ECF No. 11.

Defendant never requested an extension, but instead filed an incomplete and deficient expert notice

on June 10, 2019, that does not comply with the requirements of Rule 16. ECF No. 40. Despite

the government’s request (Ex. E) that Defendant supplement his expert disclosure on or before

June 14, 2019, Defendant refused to do so, and his disclosures remain inadequate under Rule 16

(Ex. F). Accordingly, for this violation of the Court’s Order and Rule 16, the Court should

preclude Defendant from calling Ms. Jeffress as a witness at trial. See, e.g., United States v. Day,

381 U.S. App. D.C. 48, 59 (2008) (affirming the lower court’s decision to exclude testimony as it

failed to adhere to the Rule 16 standard).

               1. Defendant Failed to Describe Bases and Reasons for the Two Opinions

       Defendant’s notice, as discussed supra, included two specific opinions by Ms. Jeffress,

listed on the first page. Both of her opinions relate to what a reasonable and knowledgeable

practitioner, standing in Defendant’s shoes, would allegedly believe regarding an obligation to

register under FARA during 2012 and 2013. 2 Defendant’s notice, however, fails to describe any

of the bases and reasons for Ms. Jeffress’ opinions. In other words, there is no discussion about

how and why Ms. Jeffress reached those opinions, or what evidence or documents support her

legal conclusions.



2
        The notice is not entirely clear as to what Ms. Jeffress means by the term “knowledgeable
practitioner in the field.” For example, the term could refer to a FARA practitioner, or perhaps to
a lawyer who represents foreign governments or international clients.
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       “The primary purpose of Rules 16(b)(1)(B) and (C) is to prevent unfair surprise at trial and

to permit the government . . . to prepare rebuttal reports and to prepare for cross-examination at

trial.” United States v. Naegele, 468 F. Supp. 2d 175, 176 (D.D.C. 2007); see also Fed. R. Crim.

P. 16, 1993 advisory committee’s notes (Rule 16 is “intended to minimize surprise that often

results from unexpected expert testimony, reduce the need for continuances, and to provide the

opponent with a fair opportunity to test the merit of the expert's testimony through focused cross-

examination.”). Where a party fails to comply with Rule 16’s obligations, a trial court is within

its discretion to exclude the proffered testimony. See Fed. R. Crim. P. 16(d) (noting that if a party

fails to comply with Rule 16’s disclosure requirements, the court may “prohibit that party from

introducing the undisclosed evidence.”); see also United States v. Day, 433 F. Supp. 2d 54, 57

(D.D.C. 2006). Under these circumstances, exclusion is the appropriate remedy.

               2. Defendant Refused to Properly Identify Ms. Jeffress’ Other Opinions

       Defendant has refused to identify any of the other specific opinions that Ms. Jeffress may

provide during her testimony. In addition to the two listed opinions, Defendant’s notice states that

he expects “Ms. Jeffress to respond to [testimony from government witnesses] consistent with her

previously described opinions.” ECF No. 40 at 2. The notice goes further, however, claiming that

“Ms. Jeffress may also offer more detailed testimony about these matters based on hypothetical

assumptions presented to her based on the documents to be offered in evidence or testimony by

other witnesses.” Id. But Defendant has been provided with extensive records of the government’s

witnesses’ prior statements and potential trial exhibits, and he knows that the government does not

plan to call any expert witnesses of its own. Yet he refuses to state, as required by Rule 16, what

additional opinions Ms. Jeffress will offer based on hypotheticals or the expected testimony and

evidence.



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       The government asked Defendant to supplement its notice identifying with specificity the

additional opinions that Ms. Jeffress may offer at trial, and to provide the bases and reasons for

each such additional opinion. Ex. E at 2. In his belated response, Defendant took the position that

depending on the testimony offered at trial by the government, he reserved the right “to have Ms.

Jeffress offer additional opinions about how a reasonable practitioner during the relevant time

frame would have analyzed the First Amendment implications of FARA registration for persons

who communicate with the media . . . .” Ex. F at 2. 3 Defendant then stated that Ms. Jeffress may

discuss her interpretation of various FARA cases, and how FARA’s definitional provisions must

be interpreted narrowly. Id. 4 These vague and somewhat confusing statements do not qualify as

a “written summary of any testimony” by Ms. Jeffress, and it certainly does not properly describe

her opinions, the bases and reasons for those opinions, or Ms. Jeffress qualifications to provide

those opinions. See Fed. R. Crim. Pro. 16(b)(1)(C).

       Neither the Court’s Scheduling Order (ECF No. 11 at 2), nor Rule 16, permit the Defendant

to “reserve the right” to offer “additional [undisclosed expert] opinions” at trial and surprise the

government with these undisclosed or unspecified opinions. Indeed, the very purpose of Rule 16,

as discussed supra, is to minimize surprise and to allow the other party to properly prepare for trial

and be ready to test the merit of the expert’s testimony through focused cross-examination. The

Court should exclude Ms. Jeffress’ entire testimony, but in particular these “other” opinions.




3
        It is unclear how Ms. Jeffress would know—much less opine—why and if a reasonable
practitioner would consider the First Amendment before determining whether to register under
FARA. It is also unclear how Ms. Jeffress is qualified to offer such an opinion—unless she is
simply repeating what Defendant will now claim is the reason he did not register under FARA.

4
        Although the statement is vague, it appears that Defendant intends to have Ms. Jeffress
instruct the jury as to the “correct” interpretation of the FARA statute—which is the Court’s role.
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               3. Defendant Failed to Establish Ms. Jeffress’ Qualifications

       Defendant also failed to establish how Ms. Jeffress is qualified to offer her opinions, which

focus on what a reasonable practitioner would have done during 2012 and 2013—a time during

which Ms. Jeffress was not a FARA practitioner and had no substantive FARA experience.

       Defendant proffered that Ms. Jeffress was qualified to offer her opinions based on two of

her professional experiences: (1) Ms. Jeffress’ experience as a federal prosecutor, with special

emphasis on her role as Chief of the National Security Section of the U.S. Attorney’s Office for

the District of Columbia (NSS); and (2) Ms. Jeffress’ experiences at Arnold & Porter, including

her experience as the firm’s FARA advisor and her experience as a FARA practitioner advising

the firm’s clients. Defendant’s proffer, however, is incorrect as to Ms. Jeffress’ experiences as a

prosecutor, and her substantive FARA experience was developed only in the last few years—well

after the period of time (2012-2013) about which Defendant would like her to testify.

       Concerned about the representations in Defendant’s notice, government counsel undertook

an inquiry about Ms. Jeffress’ FARA experience at NSS, talking to a number of prosecutors who

either worked with or for Ms. Jeffress. In addition, the government sent a letter to defense counsel,

asking that Defendant supplement its notice and provide detailed information about Ms. Jeffress’

qualifications to offer opinions about what a reasonable practitioner would do in 2012 and 2013.

See Ex. E at 2-3. Based on the information received, Ms. Jeffress is not qualified to provide the

proffered opinions—as to what a reasonable practitioner would have believed in 2012-2013.

                       a. Ms. Jeffress Never Supervised or Prosecuted a Case Under FARA,
                          18 U.S.C. § 611, et seq., while she was the Chief of NSS

       Ms. Jeffress never supervised or prosecuted a case under FARA when she served as Chief

of NSS. Moreover, before Ms. Jeffress became Chief of NSS in the early part of 2007, she was a

supervisor in the narcotics section. To our knowledge, she neither prosecuted nor supervised a

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national security case prior to becoming Chief of NSS. Ms. Jeffress left the office and her position

as Chief of NSS, in or about January 2009. Therefore, the government does not believe that Ms.

Jeffress had substantive or relevant FARA experience in her job as a federal prosecutor.

       The government’s inquiry with defense counsel as to Ms. Jeffress qualifications confirmed

the government’s understanding of her experience as Chief of NSS. For example, the government

asked Defendant to specify which investigation or prosecutions under FARA Ms. Jeffress had

supervised or prosecuted, and if she had ever consulted about FARA enforcement with anyone at

the U.S. Department of Justice. See Ex. E at 3. In response, Defendant was unable to identify a

single FARA case that Ms. Jeffress supervised or prosecuted, or a single time that Ms. Jeffress

consulted with anyone about FARA enforcement. See Ex. F at 1. Instead, Defendant attempted

to assert as relevant experience the fact that Ms. Jeffress supervised for some time an investigation

into Robert Cabelly, who was ultimately indicted on a number of non-FARA charges in October

2009—well after Ms. Jeffress had left this office. The Cabelly matter, however, was not a FARA

case. 5 Attached as Exhibit G is a copy of the October 2009 indictment in United States v. Cabelly,

09-CR-278, which confirms the absence of any FARA charges.

                       b. Defendant Concedes that Ms. Jeffress was Not a FARA Practitioner
                          During Relevant Time Period of 2012 to 2013

       During the relevant time period of 2012 and 2013 for the proffered opinions, Ms. Jeffress

resided in London, England, where she served as the U.S. Department of Justice Attaché at the




5
        Defendant tries to make the Cabelly case relevant by asserting that Cabelly had previously
registered under FARA. While that assertion is factually correct, it has nothing to do with how
that case was investigated or charged. It certainly provides no basis to opine what a reasonable
practitioner would have believed in 2012 or 2013 regarding FARA registration obligations.
Similarly, the fact that one of Cabelly’s charges included a charge under 18 U.S.C. § 951, Agents
of Foreign Government, is of no relevance. The statute under 18 U.S.C. § 951 is a completely
different statute from FARA.
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American Embassy. To our knowledge, this role does have any FARA responsibilities. Indeed,

Defendant admitted that “Ms. Jeffress was not involved in a private FARA practice during 2012-

2013. . . .” Ex. F at 2. According to Defendant, Ms. Jeffress’ earliest FARA work at Arnold &

Porter began in December 2014. Id. at 1. It was not until January 2018, that Ms. Jeffress assumed

the position of FARA advisor at her firm. Id. And despite Defendant’s claims that Ms. Jeffress

has been involved in numerous FARA filings, including “three disclosed foreign government

clients of her law firm,” the defense has not identified a single FARA filing or client of Ms.

Jeffress. Similarly, the defendant has made no attempt to show how Ms. Jeffress’ experience is

relevant to the proffered opinions and the issues to be decided in this case.

       The fact that Ms. Jeffress was not a FARA practitioner during 2012 or 2013 should, by

itself, preclude any possibility that Ms. Jeffress can testify about what a “reasonable practitioner”

would have believed were the registration obligations under FARA back in 2012 or 2013.

Defendant, nevertheless, attempts to bypass this glaring deficiency by arguing that Ms. Jeffress

can testify that she “is unaware of any significant developments during the period between 2012

and 2017 that would have changed the approach to FARA . . . .” Ex. F at 2 (emphasis added).

Exactly—Ms. Jeffress is unaware and does not and cannot know because she was not a FARA

practitioner during the relevant time period. In short, whatever FARA knowledge Ms. Jeffress

may have now, she acquired well after the events in this case.




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                                       CONCLUSION

       For the foregoing reasons, the government respectfully requests that the Court grant the

government’s Motion in Limine to preclude the testimony of Defendant’s proposed expert witness.



                                    Respectfully submitted,

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Dated: June 24, 2019




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                                      Certificate of Service

        I certify that, by virtue of the Court’s ECF system, a copy of the foregoing motion has been
sent to counsel for the defendant on June 24, 2019.


                                                     /s/ Fernando Campoamor
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